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                 4                                   UNITED STATES DISTRICT COURT
                 5                                          DISTRICT OF NEVADA
                 6                                                      ***
                 7       UNITED STATES OF AMERICA,                              Case No. 2:13-CR-18 JCM (GWF)
                 8                                              Plaintiff(s),                      ORDER
                 9              v.
               10        SALVATORE RUVOLO, et al.,
               11                                             Defendant(s).
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                               Presently before the court is defendant Salvatore Ruvolo’s motion to continue his self-
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                        surrender date. (Doc. # 756).
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               16              The facts of the instant case are familiar to the court and the parties. On March 17, 2015,

               17       a jury convicted defendant of one count to commit conspiracy and mail fraud in violation of 18
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                        U.S.C. § 1349, two counts of wire fraud in violation of 18 U.S.C. § 1343, and one count of mail
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                        fraud in violation of 18 U.S.C. § 1341. On June 17, 2015, this court sentenced defendant to twenty-
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                        four months imprisonment and three years supervised release.
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               22              Defendant seeks to continue his self-surrender date currently scheduled for September 18,

               23       2015, for approximately ninety days. (Doc. # 756). Defendant states that he and his wife have
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                        suffered health problems. Defendant has a heart condition that will require attention while he is
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                        incarcerated, and his wife broke her hip on July 29, 2015, making it difficult for her to travel up to
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                        Oregon to live with their daughter. (Doc. #756). While it is unfortunate that these events have
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               28       occurred during this transition, defendant’s heart condition can be appropriately monitored while

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                1     he is incarcerated and both defendant and his family have had ample notice of his surrender date
                2     and over a month to provide for suitable interim arrangements for his wife in light of her injury.
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                             Accordingly,
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                5            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED defendant Salvatore
                6     Ruvolo’s motion to continue his self-surrender date (doc. # 756) be, and the same hereby is,
                7     DENIED.
                8            DATED September 14, 2015.
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              10                                            ___________________________________________
                                                            UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                  -2-
